                               MAGISTRATE
              Case: 1:21-cr-00418                JUDGE
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 AO 91 (Rev. 11/11) Criminal Complaint
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                                                      AUSA Melody Wells (312) 353-1110
        7/6/2                 UNITED STATES DISTRICT COURT
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                . BRUT COURTN NORTHERN  DISTRICT OF ILLINOIS
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                                   EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                                       21-CR-00418
                                                   CASE NUMBER:
                      v.                           UNDER SEAL

 BRANDON KNIGHT

                                     CRIMINAL COMPLAINT

      I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about June 17, 2021, at Chicago, in the Northern District of Illinois, Eastern Division, and
elsewhere, the defendant(s) violated:
     Code Section                                Offense Description
     Title 18, United States Code, Section       Transmitting      in Interstate     Commerce,
     875(c)                                      communications containing threats to injury the
                                                 person of another


    This criminal complaint is based upon these facts:
     X   Continued on the attached sheet.


                                                     Heath Parvis
                                                     Special    Agent,   Federal     Bureau      of
                                                     Investigation (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The
above-named agent provided a sworn statement attesting to the truth of the Complaint and
Affidavit by telephone.

 Date: July 6, 2021
                                                                 Judge’s signature

 City and state: Chicago, Illinois                Lisa A. Jensen, U.S. Magistrate Judge
                                                              Printed name and title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                     AFFIDAVIT

      I, Heath Parvis, being duly sworn, state as follows:

      1.     I am Special Agent with the Federal Bureau of Investigation (FBI), and

have been so employed for approximately six years.         My current responsibilities

include the investigation of national security matters, to include both international

terrorism and domestic terrorism.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that Brandon Knight has violated Title 18, United States Code, Section 875(c).

Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint charging KNIGHT with

transmitting a threat in interstate commerce, I have not included each and every fact

known to me concerning this investigation. I have set forth only the facts that I believe

are necessary to establish probable cause to believe that the defendant committed the

offense alleged in the complaint.

      3.     Also, this affidavit is made in support of an application for a warrant to

search, pursuant to Title 18, United States Code, Sections 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), for information associated with certain account(s) that are stored at the

premises owned, maintained, controlled, or operated by Facebook, a social network

provider located at 1601 Willow Road, Menlo Park CA 94025. The account to be

searched is 100002048415041 (“Subject Facebook Account 1”), which is further
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described in the following paragraphs and in Part II of Attachment A. As set forth

below, there is probable cause to believe that in the account, described in Part II of

Attachment A, in the possession of Facebook, there exists evidence and

instrumentalities of violations of Title 18, United States Code, Section 875(c).

      4.     The statements in this affidavit are based on my personal knowledge,

and on information I have received from other law enforcement personnel and from

persons with knowledge regarding relevant facts. Because this affidavit is being

submitted for the limited purpose of securing a search warrant, I have not included

each and every fact known to me concerning this investigation. I have set forth facts

that I believe are sufficient to establish probable cause to believe that evidence and

instrumentalities of violations of Title 18, United States Code, Section 875(c), are

located in the Subject Account.

             I.     BACKGROUND INFORMATION

                          A.      Facebook

      5.     Based on my training and experience, I have learned the following about

Facebook:

             a.     Facebook owns and operates a free-access social networking

website of the same name that can be accessed at http://www.facebook.com. Facebook

allows its users to establish accounts with Facebook, and users can then use their

accounts to share written news, photographs, videos, and other information with other

Facebook users, and sometimes with the general public.




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             b.     Facebook asks users to provide basic contact and personal

identifying information to Facebook, either during the registration process or

thereafter. This information may include the user’s full name, birth date, gender,

contact e-mail addresses, Facebook passwords, physical address (including city, state,

and zip code), telephone numbers, screen names, websites, and other personal

identifiers. Facebook also assigns a user identification number to each account.

             c.     Facebook users may join one or more groups or networks to

connect and interact with other users who are members of the same group or network.

Facebook assigns a group identification number to each group. A Facebook user can

also connect directly with individual Facebook users by sending each user a “Friend

Request.” If the recipient of a “Friend Request” accepts the request, then the two users

will become “Friends” for purposes of Facebook and can exchange communications or

view information about each other. Each Facebook user’s account includes a list of

that user’s “Friends” and a “News Feed,” which highlights information about the user’s

“Friends,” such as profile changes, upcoming events, and birthdays.

             d.     Facebook users can select different levels of privacy for the

communications and information associated with their Facebook accounts.                 By

adjusting these privacy settings, a Facebook user can make information available only

to himself or herself, to particular Facebook users, or to anyone with access to the

Internet, including people who are not Facebook users. A Facebook user can also

create “lists” of Facebook friends to facilitate the application of these privacy settings.




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Facebook accounts also include other account settings that users can adjust to control,

for example, the types of notifications they receive from Facebook.

              e.     Facebook users can create profiles that include photographs, lists

of personal interests, and other information. Facebook users can also post “status”

updates about their whereabouts and actions, as well as links to videos, photographs,

articles, and other items available elsewhere on the Internet. Facebook users can also

post information about upcoming “events,” such as social occasions, by listing the

event’s time, location, host, and guest list. In addition, Facebook users can “check in”

to particular locations or add their geographic locations to their Facebook posts,

thereby revealing their geographic locations at particular dates and times.               A

particular user’s profile page also includes a “Wall,” which is a space where the user

and his or her “Friends” can post messages, attachments, and links that will typically

be visible to anyone who can view the user’s profile.

              f.     Facebook allows users to upload photos and videos, which may

include any metadata such as location that the user transmitted when s/he uploaded

the photo or video. It also provides users the ability to “tag” (i.e., label) other Facebook

users in a photo or video. When a user is tagged in a photo or video, he or she receives

a notification of the tag and a link to see the photo or video. For Facebook’s purposes,

the photos and videos associated with a user’s account will include all photos and

videos uploaded by that user that have not been deleted, as well as all photos and

videos uploaded by any user that have that user tagged in them.




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             g.     Facebook users can exchange private messages on Facebook with

other users. Those messages are stored by Facebook unless deleted by the user.

Facebook users can also post comments on the Facebook profiles of other users or on

their own profiles; such comments are typically associated with a specific posting or

item on the profile. In addition, Facebook has a chat feature that allows users to send

and receive instant messages through Facebook Messenger.                  These chat

communications are stored in the chat history for the account. Facebook also has

Video and Voice Calling features, and although Facebook does not record the calls

themselves, it does keep records of the date of each call.

             h.     If a Facebook user does not want to interact with another user on

Facebook, the first user can “block” the second user from seeing his or her account.

             i.     Facebook has a “like” feature that allows users to give positive

feedback or connect to particular pages. Facebook users can “like” Facebook posts or

updates, as well as webpages or content on third-party (i.e., non-Facebook) websites.

Facebook users can also become “fans” of particular Facebook pages.

             j.     Facebook has a search function that enables its users to search

Facebook for keywords, usernames, or pages, among other things.

             k.     Each Facebook account has an activity log, which is a list of the

user’s posts and other Facebook activities from the inception of the account to the

present. The activity log includes stories and photos that the user has been tagged in,

as well as connections made through the account, such as “liking” a Facebook page or




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adding someone as a friend. The activity log is visible to the user but cannot be viewed

by people who visit the user’s Facebook page.

             l.        Facebook also has a Marketplace feature, which allows users to

post free classified ads. Users can post items for sale, housing, jobs, and other items

on the Marketplace.

             m.        In addition to the applications described above, Facebook also

provides its users with access to thousands of other applications (“apps”) on the

Facebook platform. When a Facebook user accesses or uses one of these applications,

an update about that the user’s access or use of that application may appear on the

user’s profile page.

             n.        Facebook also retains Internet Protocol (“IP”) logs for a given user

ID or IP address. These logs may contain information about the actions taken by the

user ID or IP address on Facebook, including information about the type of action, the

date and time of the action, and the user ID and IP address associated with the action.

For example, if a user views a Facebook profile, that user’s IP log would reflect the

fact that the user viewed the profile, and would show when and from what IP address

the user did so.

             o.        Social networking providers like Facebook typically retain

additional information about their users’ accounts, such as information about the

length of service (including start date), the types of service utilized, and the means

and source of any payments associated with the service (including any credit card or

bank account number). In some cases, Facebook users may communicate directly with




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Facebook about issues relating to their accounts, such as technical problems, billing

inquiries, or complaints from other users. Social networking providers like Facebook

typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions

taken by the provider or user as a result of the communications.

             p.     Facebook keeps records that can reveal accounts accessed from the

same electronic device, such as the same computer or mobile phone, including

accounts that are linked by “cookies,” which are small pieces of text sent to the user’s

Internet browser when visiting websites.

      6.     Therefore, the computers of Facebook are likely to contain all the

material just described, including stored electronic communications and information

concerning subscribers and their use of Facebook, such as account access information,

transaction information, and account application. In order to accomplish the objective

of the search warrant with a minimum of interference with the business activities of

Facebook, to protect the rights of the subject of the investigation and to effectively

pursue this investigation, authority is sought to allow Facebook to make a digital copy

of the entire contents of the information subject to seizure specified in Section II of

Attachment A. That copy will be provided to me or to any authorized federal agent.

The contents will then be analyzed to identify records and information subject to

seizure pursuant to Section III of Attachment A.




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                           SUMMARY OF PROBABLE CAUSE

       7.     On or about June 17, 2021, Brandon KNIGHT, while in Oregon and using

the moniker “Ibrahim Al-Amreeki,” communicated threats via Facebook to an FBI

Online Covert Employee (OCE). Specifically, KNIGHT threatened to “hunt down and

execute individuals who work on behalf of the FBI.”

       8.     On or about August 30, 2020, Brandon KNIGHT was arrested in

Flagstaff, Arizona, on multiple counts of disorderly conduct, resisting arrest and

aggravated assault on a Police Officer. According to an Officer Safety Bulletin

distributed by the Pima County Sheriff’s Department, related to this arrest, KNIGHT

made threats directly to law enforcement by stating “that if law enforcement

intervened with him and [Adult Victim 1 (AV1)], he would kill the police and would be

glorified for doing so.”

        9.    Based on police reports from the University of Arizona Police

Department (UAPD), on or about December 4, 2020, in response to a report of a

domestic violence assault in progress, UAPD officers arrested KNIGHT in Tucson,

Arizona, on multiple charges including domestic violence assault and aggravated

assault on a Peace Officer. A bystander witnessed KNIGHT beating and kicking a

female victim who was on the ground. According to a UAPD report, when the

bystander intervened, KNIGHT pulled out a knife, but put it away when he realized

the bystander was not a police officer. Officers arrived and when they attempted to

place KNIGHT under arrest, KNIGHT forcibly resisted, spit at the officers, grabbed

and pinched one of the officers, and appeared to have grabbed for one of the officer’s




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taser. During the incident, KNIGHT stated that he could be COVID positive because

his brother was COVID positive while helping KNIGHT three days earlier. While

being arrested KNIGHT continuously spit and coughed while yelling profanity and

threatening statements towards the officers on the scene to include “get COVID on all

you bitches ... let it kill your family, grandmothers, mothers, children…you fucking

scumbags.” While being transported from the scene to the jail, KNIGHT made verbal

threats to law enforcement, stating he would wait for the officers to be off duty to kill

them and that he would come to UAPD to retrieve his property and “do something.”

KNIGHT further stated he got pleasure from hearing about police officers being

murdered around the country and would wait for them to be off duty, without their

guns to kill them.

       10.   Based on a Tucson Police Department (TPD) incident report, on or about

December 20, 2020, the TPD received a 911 call and was dispatched to a Circle K

Convenience Store & Gas Station in response to a report of domestic violence with

a weapon. According to the report, the incident involved a fight between AV1 and

Brandon KNIGHT. A witness observed KNIGHT kick AV1. When AV1 then attempted

to leave the scene, AV1 pushed KNIGHT. In response, KNIGHT lifted his shirt and

brandished a shiny object in his waistband. Both KNIGHT and AV1 refused to speak

to TPD officers when questioned. They were both transported and booked into Pima

County jail. KNIGHT was arrested for Domestic Violence-Assault and Domestic

Violence-Threats. AV1 was arrested for Domestic Violence-Assault.




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       11.   At some point between January 2021 and June 2021, KNIGHT traveled

from Arizona to Oregon. Due to an ongoing FBI investigation, on or about May 14,

2021, an FBI OCE friended Facebook account “Ibrahim Al-Amreeki”, UID

100002048415041 (Subject Facebook Account 1), which was believed to be

operated by KNIGHT. Subsequent records from Facebook indicated the registered

email accounts for the Facebook account were knightbrandon43@yahoo.com and

Brandon.knight.353250@facebook.com. Additionally, the credit card on file was in the

name of Brandon Knight.

       12.   FBI OCE engaged in online communications with KNIGHT via Facebook

Messenger. On or about May 19, 2021, FBI OCE received a video from KNIGHT

showing an unidentified person video recording themselves and another unidentified

person riding in between freight train railcars. KNIGHT and OCE stated the following

related to the video:

      OCE: what is this? is that you now?
      Al-Amreeki: On a train hahahhaa not a passenger but freight train.
      OCE: I see that, where are you going?
      Al-Amreeki: In Oregon now.
      OCE: Wow, be careful man.
      Al-Amreeki sent another video that'll be labeled below as Video#2.
      OCE: Who is that person?
      Al-Amreeki: Wife. I missing 3 others lol hahahaha Allahu akbar, [Allah is
      great].
       13.   Based on Eugene, Oregon Police Department (EPD) incident reports, on

or about June 11, 2021 at approximately 07:50 AM, the EPD responded to a homeless

encampment at approximately West 5th Avenue & Jefferson Street, Eugene, Oregon



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to investigate a report of a dispute. Upon arrival, Adult Victim 2 (AV2) 1 and AV1 were

present. AV2 told the officer that KNIGHT grabbed an axe and swung it around while

saying he was going to kill AV2 and AV1 and “chop them into little pieces.” AV2 also

told the officer that KNIGHT was mentally ill and threatened to kill any police who

arrived. AV2 stated a male bystander took the axe away from KNIGHT and KNIGHT

left, but was still texting AV2 on a messaging application using the user name

“Ibrahim.”

       14.   Based on EPD incident reports, on or about June 11, 2021 at

approximately 12:58 PM, EPD responded again to the same area of West 5th Avenue

& Jefferson Street and an officer interviewed AV2. AV2 stated KNIGHT swiped at her

tent with a knife but did not damage it. The officer then interviewed AV1. AV1 advised

that KNIGHT was her husband, although they were never legally married but had

been together since 2017. AV1 stated KNIGHT “came at” AV1 and AV2 earlier with

an axe and she was scared of him. AV1 provided the officer with KNIGHT’s phone

number, 541-583-3375 (Subject Phone 1). The officer interviewed witness 1 (W1), in a

neighboring tent. W1 indicated KNIGHT was there with a knife prior to the police

arrival. W1 describe the knife as a small, approximately a three-inch blade.

       15.   On the same day as the above incidents, on or about June 11, 2021 at

approximately 3:24pm CST, KNIGHT engaged in a conversation with the FBI OCE

via Facebook Messenger utilizing the same Facebook account “Ibrahim Al-Amreeki".



1Based on information provided by the Portland Police Department, AV2 has used a false
name in connection with interactions with law enforcement.



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At the time of the communications, the OCE was in the Northern District of Illinois

and had no knowledge of the above EPD involved incidents. The following

conversation took place:

       OCE: How are you?

       Al-Amreeki: I'm doing horrible

       OCE: La hawla wla quata illa billah, [There is no power but from Allah] why? 2

       Al-Amreeki: An individual needs to die

       Al-Amreeki: And I might become a Shahid [martyr] tonight

       OCE: What???

       OCE: Why?

       Al-Amreeki: May Allah accept it

       Al-Amreeki: I'm fully armed and ready to go to battle

       Al-Amreeki: I hope that Allah gives me Gardens beneath which rivers flow

       OCE: Please pray istikhara prayer before you do anything, you need to calm

       down and tell me what's going on. [Istikhara prayer is Arabic for Guidance

       seeking prayer].

       OCE: Akhi

       OCE: Are [you] still there akhi?

       Al-Amreeki: Yrs [sic]

        Al-Amreeki: Make Dua [pray for me]


2 The majority of the communications were in English but in the limited instances where
Arabic words or phrases were spoken or written, the preserved conversations have been
translated by FBI linguists and are contained in brackets.



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  OCE: I will, but tell me what's going on. [Al-Amreeki loved OCE's message

  above]

  Al-Amreeki: I am not able to find it

  OCE: Find what??

  OCE: What are you looking for?

  Al-Amreeki: Suicide

  OCE: Akhi, you need to make the Istikhara prayer. What suicide? that's

  haram [forbidden]. Please tell me what are you talking about.

  OCE: I'm really worried about you akhi.

  OCE: Please talk to me.

  OCE: Akhi, I understand becoming a martyr is every Muslim's dream, but

  suicide is not the answer.

  Al-Amreeki: Suicide is intentional when you go into the path of the martyrs

  sword [sic]

  OCE: Suicide is not the same as martyrdom, akhi.

  OCE: Listen akhi, if you're planning something, I may be able to help you so

  your effort will be recognized [by] the Mu'min [believers] all over the world.

  Al-Amreeki: Ameen [Amen]

  OCE: But you still did not tell me what are you planning on doing.

  OCE: Don't just waste your life in vain.

  OCE: Akhi, is your plan is a personal matter or in the sake of Allah?

  OCE: Akhi Ibrahim.




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       Al-Amreeki: My plan is to kill my wife

       OCE: La hawla wla quata illa billah, why akhi? [There is no power but from

       Allah].

       OCE: You said she was a Muslim.

       Al-Amreeki: Zina [Adultery]

Based on the context of this conversation and the information from the police reports

described above, I understand that defendant was referring to AV1 when he stated he

planned to kill his wife.

       16.   On June 11, 2021, Facebook provided records in response to an

emergency request pursuant to 18 U.S.C. § 2702. According to those records, IP

address 2607:fb90:8228:a820:0000:0006:12ba:b901 (the “b901 IP address”) was being

used to access the Facebook profile “Al-Amreeki”, UID 100002048415041 (Subject

Facebook Account 1) on June 11, 2021 at 21:54:05 UTC. This time translates to

3:54:05 PM CST which corresponded with the above FBI OCE communications.

       17.   Based on open source IP attribution lookup, the b901 IP address belonged

to T-Mobile. T-Mobile provided records in response to an emergency request pursuant

to 18 U.S.C. § 2702. According to T-Mobile records, the account subscriber for the b901

IP address on June 11, 2021, was Brandon KNIGHT. According to T-Mobile, the IP

address was associated with an account for a device listed as an “LG STYLO6 64G

WHT TMUS KIT RSU.” (Subject Phone 1). Based on open source searches, this

designation corresponds with a LG Stylo 6, 64 gigabyte, white mobile phone.

Additionally, T-Mobile records the phone number 541-538-3375 and IMSI




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310260042917969 are assigned to Subject Phone 1. According to T-Mobile records

for phone number 541-538-3375, GPS data indicated that on or about June 11, 2021

at approximately 11:44:26 PM PDT, Subject Phone 1 was located at 44.054521, -

123.101120 which corresponded with the homeless encampment based in the

Washington and Jefferson Park, within 88 meters or 289 feet around West 5th Avenue

and Jefferson Street in Eugene, Oregon.

        18.   In response to the location information provided by the T-Mobile records,

EPD officers went to the homeless encampment and saw a light move in the tent that

was previously identified by AV2 as belonging to KNIGHT. Officers located and

identified KNIGHT and effectuated an arrest of KNIGHT.

        19.   KNIGHT was arrested by EPD for “Menacing – Threats” and on an

outstanding warrant from Pima County, Arizona. The Eugene, Oregon authorities did

not file charges. KNIGHT was subsequently released from custody on June 16, 2021.

KNIGHT’s whereabouts are unknown, but he is believed to be in the Eugene, Oregon

area.

        20.   After his release, KNIGHT again engaged in a conversation with a FBI

OCE on or about June 17, 2021. The following conversation took place:

        Al-Amreeki: I was arrested
        OCE: Hey akhiiiiii, what happened?
        Al-Amreeki: The FBI was tracking my location
        OCE: ok??
        Al-Amreeki: Declaration of war
        OCE: What do you mean?
        OCE: Are you out now?



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      OCE: Akhi.
      OCE: Are you still there?
      OCE: Akhi
      Al-Amreeki: Yes
      Al-Amreeki: They arrested me when I left the Masjid [Mosque].
      OCE: Tell me the story, what happened tp you and what happened with your
      wife?
      OCE: *To you [corrected the above typo].
      Al-Amreeki: They charge me as a fugitive from Justice
      OCE: And what now?? Are you still in prison?

      Al-Amreeki: My wife was raped

      Al-Amreeki: I declare war on the United States government

      Al-Amreeki: Hunt down any person working for the FBI

      OCE: la hawla wla quwata illa billah [There is no power but from Allah]

      Al-Amreeki: Even if they go to the Masjid [Mosque]

      Al-Amreeki: Allah says do not spy on your Muslim brother so if they’re spying

      on their Muslim brother they deserve to be executed

Further on in the conversation the following was stated:

      OCE: I am sorry to hear that

      Al-Amreeki: So now I’m on a mission to hunt down and execute individuals who

      work on behalf of the FBI

      OCE: So are you now released?

      Al-Amreeki: Yes

      OCE: Alhamdu lillah

      Al-Amreeki: But my phone is being hacked and tracked



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      Al-Amreeki: By the United States government

      Al-Amreeki: So that they’re listening in on us right now I want him to know

      that there is no God except one and his name is Allah and that Prophet

      Muhammad is the final messenger and the seal of all the prophets peace be

      upon all of them

      Al-Amreeki: And to make me a Shahid [martyr]

      OCE: Ameen ya rab alalameen [Amen O Lord of the universe]

      Al-Amreeki: Take me to cut my head off just like I’ll cut theirs off

      Al-Amreeki: They can cut my head off just like I will cut their heads off

      Al-Amreeki: Let it glow like gold on the day of judgement AMEEN [Amen]

Further conversation contained the following:

      Al-Amreeki: The last thing they’ll be begging for is the mercy of Allah

      Al-Amreeki: I’m already tracking the FBI agent who track me

                                   CONCLUSION

      21.   For the reasons stated herein, there is probable cause to find that

KNIGHT has transmitted a threat in interstate commerce, in violation of Title 18,

United States Code, Section 875(c).




                                       FURTHER AFFIANT SAYETH NOT.


                                       Heath Parvis
                                       Special    Agent,      Federal        Bureau   of
                                       Investigation




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SWORN TO AND AFFIRMED by telephone July 6, 2021.


Honorable Heather K. McShain
United States Magistrate Judge




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